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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     JACINTO VICTOR ALVAREZ, JOSEPH                     Case No.: 20-cv-00782-DMS (AHG)
       BRODERICK, MARLENE CANO, JOSE
12
       CRESPO-VENEGAS, NOE                                AMENDED ORDER DENYING
13     GONZALEZ-SOTO, VICTOR LARA-                        MOTION FOR TEMPORARY
       SOTO, RACQUEL RAMCHARAN,                           RESTRAINING ORDER
14
       GEORGE RIDLEY, MICHAEL JAMIL
15     SMITH, LEOPOLDO SZURGOT, JANE
       DOE, on behalf of themselves and those
16
       similarly situated,
17                          Plaintiffs-Petitioners,
18     v.
19
       CHRISTOPHER J. LAROSE, Senior
20     Warden, Otay Mesa Detention Center, et
       al.,
21
                       Defendants-Respondents.
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23
24          This case is the second one to come before this Court concerning the detention of
25    persons in Otay Mesa Detention Center (“Otay Mesa” or “OMDC”) in light of the COVID-
26    19 pandemic. The first case, Alcantara, et. al., vs. Archambeault, et. al., No. 20cv00756,
27    concerned civil detainees in immigration custody. In that case, this Court provisionally
28    certified a subclass of medically vulnerable civil immigration detainees at OMDC and

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 1    found they had established a likelihood of success on their Fifth Amendment due process
 2    claim in light of the conditions and their treatment at the facility. Based on that showing,
 3    the Court granted the plaintiffs’ motion for a temporary restraining order and directed the
 4    defendants to immediately review for release those subclass members. That process is
 5    underway.
 6          The claims in the present case are virtually identical to those raised in Alcantara, but
 7    Plaintiffs in this case are situated differently. Unlike the plaintiffs in Alcantara, who are
 8    civil immigration detainees, Plaintiffs here are criminal detainees either awaiting trial or
 9    sentencing in federal court. That difference places these detainees in an entirely different
10    position from those in Alcantara, as Congress, through the Prison Litigation Reform Act
11    (“PLRA”), has imposed significant limitations on court intervention in matters that are
12    traditionally within the discretion of the Executive Branch and its prisons. There is no
13    dispute Plaintiffs are “prisoners” under the PLRA,1 and if subject to its provisions this
14    Court may not order the release of Plaintiffs. For the reasons set forth below, the Court
15    finds the PLRA applies to Plaintiffs’ claims and divests the Court of authority to grant the
16    requested relief. Accordingly, Plaintiffs’ motion for temporary restraining order is denied.
17                                                 I.
18                                         BACKGROUND
19          Otay Mesa separately houses both Immigration and Customs Enforcement (“ICE”)
20    civil detainees and United States Marshall Service (“USMS”) criminal detainees. Plaintiffs
21    in this case fall into the latter category. On April 25, 2020, when the present case was filed,
22    there were approximately 340 criminal detainees at OMDC. (Mot. for TRO at 9). It
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        See 18 U.S.C. § 3626(g)(3) (defining “prisoner” as “any person subject to incarceration,
27    detention, or admission to any facility who is accused of, convicted of, sentenced for, …
      violations of criminal law or the terms and conditions of parole, probation, pretrial release,
28    or diversionary program”).
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 1    appears that as of May 5, 2020, 66 of these detainees have tested positive for COVID-19.2
 2    Plaintiffs allege the virus will continue to proliferate in the detention facility because of
 3    Defendants’ failure to reduce the OMDC population, maintain adequate cleaning and
 4    hygiene standards, and comply with Center for Disease Control (“CDC”) guidelines for
 5    detention facilities. (Id.). Plaintiffs include declarations of detainees in support of these
 6    allegations.
 7          As a result of Defendants’ alleged inaction in controlling the COVID-19 outbreak at
 8    OMDC, Plaintiffs filed the present motion for TRO, seeking the release of the medically
 9    vulnerable pretrial and post-conviction detainee subclasses. Plaintiffs define medically
10    vulnerable as individuals who are aged 45 years or older or who have medical conditions
11    that the CDC has determined increase their likelihood of becoming severely ill from
12    COVID-19. Plaintiffs allege Defendants’ failure to implement adequate measures to
13    protect detainees amounts to unconstitutional punishment in violation of the Fifth
14    Amendment and constitutes deliberate indifference to the detainees’ rights under the Eighth
15    Amendment. Defendants do not concede Plaintiffs’ factual allegations but contend the
16    PLRA precludes this Court from issuing the relief Plaintiffs seek. In light of Defendants’
17    arguments under the PLRA, the Court has deferred briefing on class certification and
18    declines to address the balance of Defendants’ arguments, which include arguments under
19    the PLRA for failure to exhaust remedies and Plaintiffs’ failure to seek relief under the Bail
20    Reform Act in their respective pending criminal cases. Those matters may be raised in the
21    briefing on the upcoming hearing on Plaintiffs’ motion for preliminary injunction.
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        Kate Morrissey, First ICE detainee dies from COVID-19 after being hospitalized from
27    Otay Mesa Detention Center, San Diego Union Tribune (May 6, 2020),
      https://www.sandiegouniontribune.com/news/immigration/story/2020-05-06/first-ice-
28    detainee-dies-from-covid-19-after-being-hospitalized-from-otay-mesa-detention-center.
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 1                                                 II.
 2                                           DISCUSSION
 3          The purpose of a TRO is to preserve the status quo before a preliminary injunction
 4    hearing may be held; its provisional remedial nature is designed merely to prevent
 5    irreparable loss of rights prior to judgment. Granny Goose Foods, Inc. v. Brotherhood of
 6    Teamsters & Auto Truck Drivers, 415 U.S. 423, 439 (1974). The standard for issuing a
 7    temporary restraining order is identical to the standard for issuing a preliminary injunction.
 8    Lockheed Missile & Space Co., Inc. v. Hughes Aircraft Co., 887 F. Supp. 1320, 1323 (N.D.
 9    Cal. 1995). Injunctive relief is an “extraordinary remedy that may only be awarded upon
10    a clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def.
11    Council, Inc., 555 U.S. 7, 22 (2008). To meet that showing, Plaintiffs must demonstrate
12    “‘[they are] likely to succeed on the merits, that [they are] likely to suffer irreparable harm
13    in the absence of preliminary relief, that the balance of equities tips in [their] favor, and
14    that an injunction is in the public interest.’” Am. Trucking Ass’ns v. City of Los Angeles,
15    559 F.3d 1046, 1052 (9th Cir. 2009) (quoting Winter, 555 U.S. at 20).
16       A. Likelihood of Success
17          “The first factor under Winter is the most important—likely success on the merits.”
18    Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015). While Plaintiffs carry the burden
19    of demonstrating likelihood of success, they are not required to prove their case in full at
20    this stage but only such portions that enable them to obtain the injunctive relief they seek.
21    See Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981).
22          Defendants contend Plaintiffs are not likely to succeed on the merits because the
23    PLRA precludes this Court from issuing the relief they seek. Specifically, Defendants
24    argue Plaintiffs are challenging the conditions of their confinement—not the fact or
25    duration of their detention—and seeking release of prisoners.              As characterized,
26    Defendants argue the PLRA would apply and preclude the requested relief—as an order
27    requiring release of prisoners may not be entered except by a three-judge panel of the
28    district court and only after other less intrusive orders have failed to remedy the deprivation

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 1    of the federal right at issue. Plaintiffs argue habeas is the proper vehicle for the relief they
 2    seek and the PLRA does not apply to habeas proceedings.
 3          Plaintiffs’ argument that the PLRA does not apply to habeas proceedings is partially
 4    correct. By its terms, the PLRA does not apply to habeas proceedings “challenging the
 5    fact or duration of confinement in prison.” 18 U.S.C. § 3626(g)(2). The question in this
 6    case, therefore, is whether the claims alleged challenge the fact or duration of Plaintiffs’
 7    confinement or the conditions of Plaintiffs’ confinement. Simply invoking the habeas label
 8    is not determinative, as plaintiffs may challenge either kind of claim—“fact or duration of
 9    confinement” or conditions of confinement—in a habeas proceeding. See Ziglar v. Abbasi,
10    137 S.Ct. 1843, 1862-63 (2017) (leaving open the question whether detainees “might be
11    able to challenge their confinement conditions via a petition for writ of habeas corpus.”)
12          Given Plaintiffs’ allegations, the Court finds Plaintiffs’ claims rest entirely on the
13    conditions of the Otay Mesa facility. In the first paragraph of their Complaint, Plaintiffs
14    “challenge their continued detention, and the detention of all similarly situated individuals,
15    under conditions of confinement that imperil their lives in violation of the Fifth and Eighth
16    Amendments to the U.S. Constitution . . . .” (Compl. ¶ 1 (emphasis added)). Plaintiffs’
17    factual allegations focus exclusively on Defendants’ “actions and inactions” concerning
18    the “conditions of confinement” at Otay Mesa. (Id. at ¶¶ 98, 100). For example, Plaintiffs
19    discuss the “[c]leaning standards in OMDC common areas,” the scarcity of cleaning
20    supplies and hygiene products, USMS’s failure to implement CDC guidelines on
21    preventive measures, Otay Mesa’s failure to conduct widespread testing, a lack of masks
22    and gloves, and the absence of appropriate social distancing and quarantining measures.
23    (Id. at ¶¶ 10, 44, 55, 61, 62, 63, 64; see also id. at ¶ 109 (“Defendants have failed to take
24    reasonable measures to abate the risk that the [subject class members] will contract
25    COVID-19.”)). Plaintiffs note that the facility’s “conditions and population levels” place
26    the proposed class members at “a high risk of exposure” to the virus. (Id. at ¶ 72). For
27    relief, Plaintiffs seek release of “as many incarcerated persons as necessary to allow [for]
28    proper social distancing among those remaining in OMDC.” (Id. at ¶ 11; see also id. at ¶

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 1    12 (Plaintiffs “further request various improvements to, and ongoing monitoring of,
 2    detention conditions at OMDC, and the staggered release of remaining [Plaintiffs] and
 3    other class members until necessary social distancing hygiene measures can be
 4    sustained.”)).
 5          Plaintiffs’ claims, under any good faith calculus, cannot be characterized as a
 6    “habeas corpus proceeding[] challenging the fact or duration of confinement in prison.” 18
 7    U.S.C. § 3626(g)(2). Plaintiffs do not challenge the reason for their confinement, their
 8    conviction or charge, the length of their sentence, or a release determination based on good
 9    time credits—claims that are often characterized as “the core of habeas corpus.” Preiser
10    v. Rodriguez, 411 U.S. 475, 487 (1973). Rather, their claims are based solely on the current
11    conditions inside OMDC given the COVID-19 pandemic. In other words, unlike a claim
12    concerning the fact of confinement, Plaintiffs’ claims would not exist but for their current
13    conditions of confinement at Otay Mesa. Accordingly, the present case is not a “habeas
14    corpus proceeding[] challenging the fact or duration of confinement in prison[,]” which
15    would fall outside the purview of the PLRA. It is a habeas claim based on confinement
16    conditions.
17          Plaintiffs argue they seek release, which is a remedy traditionally provided by a writ
18    of habeas corpus. But this argument conflates the nature of relief with the substance of the
19    claim to avoid the limitations of the PLRA. Moreover, the PLRA specifically contemplates
20    “prisoner release orders” in “civil action[s]” concerning “prison conditions.” 18 U.S.C. §
21    3626(a)(3)(A). The PLRA clearly addresses both Plaintiffs’ claim and their chosen
22    remedy. See Money v. Pritzker, --- F. Supp. 3d ----, 2020 WL 1820660, at *14 (N.D. Ill.
23    Apr. 10, 2020) (stating PLRA “prevents” court from granting release of inmates based on
24    prison conditions and COVID-19); Plata v. Newsom, --- F. Supp. 3d ----, 2020 WL
25    1908776, at * 1 (N.D. Cal. Apr. 17, 2020) (similar).
26          During oral argument, Plaintiffs cited a recent Sixth Circuit case, Wilson v. Williams,
27    No. 20-3447 (6th Cir. May 4, 2020), in support of their argument that the PLRA does not
28    apply. In Wilson, federal inmates filed a petition for a writ of habeas corpus, seeking

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 1    release from or enlargement of their custody to limit their exposure to the COVID-19 virus.
 2    Wilson, No. 20-3447. The Sixth Circuit found the inmates’ claims concerned the fact of
 3    their detention, not the conditions of their confinement, because the inmates argued “no set
 4    of conditions would be constitutionally sufficient.” Id. Consequently, the court found the
 5    PLRA’s restrictions on the issuance of prisoner release orders did not apply.
 6          The Court does not find Wilson persuasive for two reasons. First, unlike the inmates
 7    in Wilson, Plaintiffs fail to argue there are no set of conditions of confinement that would
 8    be constitutionally sufficient. Although Plaintiffs presented this argument at the hearing
 9    on the present motion, it is not included in their Complaint or their motion for TRO. At
10    most, Plaintiffs argue it would be “structurally impossible” for OMDC detainees to socially
11    distance. (Mot. for TRO at 11; Compl. ¶ 71 (alleging “practically impossible” to protect
12    detainees)). But in their Complaint, Plaintiffs allege that a significant reduction in the
13    population of inmates would “allow [for] proper social distancing.” (Compl. ¶ 11). The
14    reasoning in Wilson, therefore, is inapplicable here.
15          Second, the Court disagrees with the proposition that there are no set of conditions
16    at Otay Mesa that would be constitutionally sufficient under the Fifth Amendment. As
17    Plaintiffs allege in their Complaint, a significant reduction in population, an increase in
18    sanitation, and compliance with CDC guidelines for detention facilities would eliminate
19    considerable risk of Otay Mesa inmates contracting COVID-19. (Id. at ¶¶ 11, 12). And,
20    of course, that is so. The Fifth Amendment prohibits punishment of detained persons prior
21    to “a formal adjudication of guilt” but cannot require a complete elimination of all risk of
22    contracting the virus. Bell v. Wolfish, 441 U.W. 520, 535 n.16 (1979) (citing United States
23    v. Lovett, 328 U.S. 303, 317–18 (1946)). Holding otherwise would place an impossible
24    burden on detention facilities.
25          Contrary to Plaintiffs’ assertion, this Court finds the present case clearly presents a
26    challenge to the conditions of Plaintiffs’ confinement at OMDC. As such, the PLRA
27    applies. See 18 U.S.C. § 3626(a)(3)(A) (stating PLRA applies to “any civil action in federal
28    court with respect to prison conditions”); Nettles v. Grounds, 830 F.3d 922, 934 (9th Cir.

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 1    2016) (stating prisoner must comply with PLRA if claim challenges any “aspect of prison
 2    life” other than “fact or duration of the conviction or sentence”).
 3          Congress enacted the PLRA to “revive the hands-off doctrine” and restore “judicial
 4    quiescence derived from federalism and separation of powers concerns” to remove the
 5    judiciary from prison management. Gilmore v. California, 220 F.3d 987, 991, 996–97 (9th
 6    Cir. 2000). By its terms, the PLRA “restricts the circumstances in which a court may enter
 7    an order ‘that has the purpose or effect of reducing or limiting the prison population.’”
 8    Brown v. Plata, 563 U.S. 493, 511 (2011). As noted by the Supreme Court in Plata, “[t]he
 9    release of prisoners in large numbers … is a matter of undoubted, grave concern.” Id. at
10    501. The PLRA specifically requires courts to give “substantial weight to any adverse
11    impact on public safety or the operation of a criminal justice system caused by” the release
12    of prisoners. 18 U.S.C. § 3626(a)(1).
13          There is no dispute the PLRA is restrictive. It limits the Court’s authority to order
14    release of prisoners “[i]n any civil actions with respect to prison conditions.” 18 U.S.C. §
15    3626(a)(3)(A). It provides, “no court shall enter a prisoner release order unless . . . (i) a
16    court has previously entered an order for less intrusive relief that has failed to remedy the
17    deprivation of the Federal right sought to be remedied. . . ; and (ii) the defendant has had a
18    reasonable amount of time to comply with the previous court orders.” Id. It precludes
19    prisoner release orders unless “entered [] by a three-judge court.” Id. § 3626(a)(3)(B). In
20    addition, before entering such an order, the three-judge panel must first find, by clear and
21    convincing evidence, “(i) crowding is the primary cause of the violation of a Federal right;
22    and (ii) no other relief will remedy the violation of the Federal right.” Id. § 3626(a)(3)(E).
23    Finally, the PLRA defines “prisoner release order” in expansive terms to include “any order
24    … that has the purpose or effect of reducing or limiting the prison population, or that directs
25    the release from … a prison.” Id. § 3626(g)(4). These limitations “ensure that the ‘last
26    resort remedy’ of a population limit is not imposed ‘as a first step.’” Plata, 563 U.S. at
27    514 (quoting Inmates of Occoquan v. Barry, 844 F.2d 828, 843 (D.C. Cir. 1988)).
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 1          Here, Plaintiffs are challenging confinement conditions and requesting release. The
 2    substance of their claim and form of relief fall squarely within the purview of a “prisoner
 3    release order” under the PLRA. Because the Court may not grant the requested relief,
 4    Plaintiffs have failed to establish a likelihood of success on the merits of their claim.
 5        B. Remaining Injunctive Relief Factors
 6          The next three factors require Plaintiffs to demonstrate they are “likely to suffer
 7    irreparable harm in the absence of preliminary relief,” the “balance of equities tips in [their]
 8    favor” and the “public interest favors granting an injunction.” Hernandez, 872 F.3d at 995,
 9    996 (internal quotations omitted). Given, however, that Plaintiffs have failed to show at
10    “an irreducible minimum that there is a fair chance of success on the merits[,]” the Court
11    cannot enter injunctive relief based on these remaining three factors. Martin v. Int’l
12    Olympic Comm., 740 F.2d 670, 675 (9th Cir. 1984). Nevertheless, the Court briefly
13    addresses these factors below.
14          Turning to likelihood of irreparable injury, recent reports indicate that as of May 5,
15    2020, 66 criminal detainees in OMDC have tested positive.               COVID-19 is highly
16    contagious. (Mot. for TRO at 15). Individuals are capable of spreading the virus, despite
17    being asymptomatic themselves.         (Id.).   Moreover, individuals who are medically
18    vulnerable—including the subclass members seeking relief here—face a heightened risk
19    of serious injury or death upon contracting COVID-19. (Id. at 13). None of this is disputed.
20    A strong showing of likelihood of irreparable injury standing alone, however, cannot
21    trigger the issuance of injunctive relief. Without “serious questions” as to the likelihood
22    of success on the merits, the Court cannot issue a TRO. All for the Wild Rockies v. Pena,
23    865 F.3d 1211, 1217 (9th Cir. 2017).3
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26    3
        The Court also notes that as pretrial and convicted but yet to be sentenced detainees,
27    Plaintiffs have remedies available to them under the Bail Reform Act, (18 U.S.C. §§ 3142
      and 3143). Plaintiffs can seek release under appropriate conditions before the judge to
28    whom their case is assigned. Accordingly, Defendants argue Plaintiffs have a legal remedy
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 1           Plaintiffs also do not satisfy the remaining two factors of injunctive relief. The
 2     Supreme Court has held that where the government is the party opposing an injunction, the
 3     balance of the equities and public interest injunctive relief factors tend to merge. See Nken
 4     v. Holder, 556 U.S. 418, 435 (2009); Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073,
 5     1092 (9th Cir. 2014). Here, the Court could not issue injunctive relief without unfairly
 6     intruding on Defendants’ operation of the prison system and defying Congress’s clear
 7     policy determinations regarding challenges to prison conditions and prisoner release
 8     orders. In addition, the public interest does not favor the immediate release of a class of
 9     inmates who may lack viable housing outside of OMDC and may be deprived of access to
10     food, means of personal hygiene, and medical care if released, all at once, from the facility.
11     Plaintiffs have failed to meet their burden of demonstrating the injunctive relief factors
12     weigh in favor of granting a TRO.4
13                                                  III.
14                                  CONCLUSION AND ORDER
15           For these reasons, Plaintiffs’ motion for temporary restraining order is denied.
16     IT IS SO ORDERED.
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18     Dated: May 12, 2020
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25     and have not suffered irreparable harm. The Court defers ruling on this factor pending
       further briefing on preliminary injunction.
26     4
          Plaintiffs have alleged alternative relief in the form of enlargement, “in which an
27     individual remains in custody, but the place of custody is enlarged by the Court.” (See
       Comp. ¶ 81.) That relief was not requested in the TRO. The Court therefore defers ruling
28     on that issue pending briefing on preliminary injunction.
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